948 F.2d 1282
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ardi D. NOLON, III, Plaintiff-Appellant,v.MEEKS;  C. Cavanaugh;  Sargeant Pinion, Defendants-Appellees.
    No. 91-7136.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 27, 1991.Decided Dec. 4, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Franklin T. Dupree, Jr., Senior District Judge.  (CA-89-793-CRT)
      Ardi D. Nolon, III, appellant pro se.
      Ronna Dawn Gibbs, North Carolina Department of Justice, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Ardi D. Nolon, III, appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Nolon v. Meeks, CA-89-793-CRT (E.D.N.C. May 30, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    